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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA

                                                        CRIMINAL CASE
v.
                                                  No. 1:18-CR-00098-SCJ-LTW


MITZI BICKERS




                                         ORDER

      This matter is before the Court regarding the jury trial currently scheduled

to begin January 18, 2022. On January 3, 2022, the Court held a teleconference

hearing during which the Court, the Government, and counsel for Defendant

discussed the current state and projected spread of the Covid-19 Omicron variant

in Georgia. Given the public health concerns associated with the Omicron

variant, the parties consented to the Court continuing the jury trial to a later date.

Counsel for Defendant confirmed that Defendant consents to a continuance.

      Accordingly, the Court ORDERS that the JURY TRIAL is CONTINUED

to WEDNESDAY, MARCH 9, 2022 at 9:30 a.m., in Courtroom 1907, United States
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Courthouse, 75 Ted Turner Drive, S.W., Atlanta, GA. The period between the

previous trial date and the continued trial date shall be excluded under the

District’s Speedy Trial Plan and Speedy Trial Act (18 U.S.C. § 3161, et seq.).

      Further, the Court ORDERS that the pretrial conference in this matter will

take place on THURSDAY, MARCH 3, 2022 at 10:00 a.m. in Courtroom 1907,

United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, GA. The pretrial

conference currently scheduled for January 12, 2022 is hereby cancelled.


      IT IS SO ORDERED this 4th day of January, 2022.



                                       /s/ Steve C. Jones
                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE




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